                 Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 1 of 9




 1                                              THE HONORABLE JOHN C. COUGHENNOUR
 2
 3
 4
                               UNITED STATES DISTRICT COURT
 5
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7
     UNITED STATES OF AMERICA,                      ) No. CR20-111-JCC
 8                                                  )
                      Plaintiff,                    )
 9                                                  ) DEFENDANT’S DISPOSITION
                 v.                                 ) MEMORANDUM
10                                                  )
     ISAIAH THOMAS WILLOUGHBY,                      )
11                                                  )
                      Defendant.                    )
12                                                  )

13
14          Isaiah Willoughby submits this memorandum in support of the disposition

15   hearing set for December 1, 2022. At that hearing, Mr. Willoughby will admit all of the

16   violations alleged by the Probation Department, which include:

17          1.        Using alcohol on or about July 14, 2022.
            2.        Failing to submit to drug testing on the following dates:
18                    • June 30, 2022
19                    • July 6, 2022
                      • July 25, 2022
20                    • August 12, 2022
                      • August 16, 2022
21          3.        Failing to obtain a substance use disorder assessment as instructed
22                    since April 26, 2022.
            4.        Failing to pay towards restitution as instructed since June 30, 2022.
23          5.        Failing to report and reside at an approved residence since
                      August 22, 2022.
24
            6.        Leaving the federal judicial district, the Western District of Washington,
25                    without prior permission from the probation officer, on or about
                      October 4, 2022.
26

                                                                   FEDERAL PUBLIC DEFENDER
       DEFENDANT’S DISPOSITION                                        1601 Fifth Avenue, Suite 700
       MEMORANDUM                                                       Seattle, Washington 98101
       (U.S. v. Willoughby, CR20-111-JCC) - 1                                      (206) 553-1100
                  Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 2 of 9




 1             Mr. Willoughby respectfully recommends a sentence of time-served
 2   (approximately 60 days) with 31 months of supervised release, including a special
 3   condition that he be placed at the RRC for a period up to six months. The Probation
 4   Department argues that a further term of confinement through the holidays is necessary
 5   so that Mr. Willoughby can come to grips with his potential substance abuse and mental
 6   health issues. However, an additional term of custody would not achieve that goal.
 7   Instead, a structured environment, such as the RRC, would provide supervision,
 8   support, and monitoring that would assist Mr. Willoughby in his transition from
 9   custody to the community.
10             The Probation Department recommends both an RRC placement and GPS
11   monitoring while he is at the RRC. The defense suggests that this level of monitoring is
12   unnecessary. If the Court is inclined to impose location monitoring, the defense
13   recommends that it start after Mr. Willoughby is released from the RRC to provide
14   monitoring when he transitions out of the RRC.
15   I.        BACKGROUND
16             Following Mr. Willoughby’s guilty plea to Conspiracy to Commit Arson, this
17   Court sentenced him to 24 months of imprisonment and three years of supervised
18   release. Dkt. 84. Mr. Willoughby started this term of supervised release on March 29,
19   2022.
20             The Bureau of Prisons did not grant Mr. Willoughby any prerelease time in the
21   RRC. He was released homeless from prison and showed up at the Probation
22   Department with no housing. Luckily, his brother was able to provide him space in a
23   storage room in his barbershop. The barbershop, located in a commercial strip mall, had
24   a small kitchenette and a space for a mattress, but it was still less than an ideal housing
25   placement.
26

                                                                  FEDERAL PUBLIC DEFENDER
          DEFENDANT’S DISPOSITION                                    1601 Fifth Avenue, Suite 700
          MEMORANDUM                                                   Seattle, Washington 98101
          (U.S. v. Willoughby, CR20-111-JCC) - 2                                  (206) 553-1100
               Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 3 of 9




 1          Mr. Willoughby is an ambitious man who values employment. Upon release
 2   from prison, he found employment at Synergy LLC in early June. He initially worked
 3   through a temporary placement agency, but he was hired directly by Synergy in early
 4   July due to his positive employment record. After a few weeks, Mr. Willoughby was
 5   laid off due to the company’s financial issues. Mr. Willoughby later obtained
 6   employment through Total Success Staffing, working as a caterer at the Amazon
 7   headquarters in downtown Seattle.
 8          As outlined in the Probation Department’s violation memos and
 9   recommendation to the Court, Mr. Willoughby has chaffed against supervision. He
10   missed UA testing because he was concerned about missing work. When he was
11   released, he asked to do UA tests at the Seattle courthouse. However, the job he
12   eventually found was in Kent, so he was concerned about missing work hours for UA
13   testing. He worked from 7:30 am to 4:30 pm, which overlaps with the testing times for
14   UAs at the Probation Department. After missing a UA, he spoke with his probation
15   officer, who informed him that he could test in Tukwilla. While the bus made it
16   possible to both test and get to work, it was a very tight schedule. Although
17   Mr. Willoughby missed the tests outlined in the violation report, he also appeared for
18   five UAs while on supervised release, four of which were negative for drugs/alcohol
19   and one which was positive for alcohol.
20          The Probation Department memo outlines some of the issues that
21   Mr. Willoughby had getting mental health and chemical dependency assessments. He
22   obtained a mental health assessment but did not complete a chemical dependency
23   assessment. To his credit, Mr. Willoughby made efforts to get the assessment. He
24   initially scheduled a SUD assessment at STOP in Tacoma. While STOP was not one of
25   the providers recommended by the Probation Department (because they don’t take
26   Apple Care insurance), Mr. Willoughby chose this agency at the suggestion of his aunt,

                                                                FEDERAL PUBLIC DEFENDER
       DEFENDANT’S DISPOSITION                                     1601 Fifth Avenue, Suite 700
       MEMORANDUM                                                    Seattle, Washington 98101
       (U.S. v. Willoughby, CR20-111-JCC) - 3                                   (206) 553-1100
                  Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 4 of 9




 1   who runs a clean and sober transition home in Tacoma. His appointment was scheduled
 2   for July 2, 2022, in Tacoma. However, he eventually changed the appointment to
 3   July 26, 2022 at the STOP location in Kent. Mr. Willoughby then scheduled an SUD
 4   assessment at Sound for August 16, 2022. Mr. Willoughby made arrangements to take
 5   the day off from work so he could do the telehealth assessment. However, the day
 6   before the appointment, the provider notified him that he needed to reschedule because
 7   the COVID rules that allowed for telehealth appointments for SUD assessments had
 8   expired. The provider offered a new date for an in-person appointment. Mr. Willoughby
 9   was frustrated and responded by text, “Who gave you permission to choose this day and
10   time for the assessment.” The provider offered alternative dates but Mr. Willoughby did
11   not respond and missed the appointment. However, Mr. Willoughby went back to
12   STOP to schedule a SUD. The appointment was set for August 28, 2022. Exhibit 1
13   (STOP Letter). Admittedly, Mr. Willoughby did not make it to this appointment either.
14   By this time, he had stopped communicating with his probation officer.
15             Mr. Willoughby admits he failed to make sufficient payments toward restitution.
16   Mr. Willoughby has only been out of custody for a matter of months. His jobs, obtained
17   through temp agencies, do not involve skilled labor and likely pay only slightly more
18   than minimum wage. While he could have paid more, he was still struggling
19   financially.
20             Finally, Mr. Willoughby was arrested in Las Vegas. He did not have permission
21   to travel and, by that time, he was on warrant status. To be clear, though, he had not
22   moved to Las Vegas; he was there for a short trip.
23   //
24   //
25
26

                                                                 FEDERAL PUBLIC DEFENDER
          DEFENDANT’S DISPOSITION                                   1601 Fifth Avenue, Suite 700
          MEMORANDUM                                                  Seattle, Washington 98101
          (U.S. v. Willoughby, CR20-111-JCC) - 4                                 (206) 553-1100
               Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 5 of 9




     II.    A TERM OF TIME-SERVED (ABOUT 60 DAYS) WITH A SPECIAL
 1
            CONDITION THAT INCLUDES A LENGTHY RRC PLACEMENT
 2          SERVES THE REHABILITATIVE AND TRANSITIONAL GOALS OF
            SUPERVISED RELEASE.
 3
            “Supervised release fulfills rehabilitative ends, distinct from those served by
 4
     incarceration.” United States v. Johnson, 529 U.S. 53, 59 (2000). For that reason, 18
 5
     U.S.C. § 3583(c) requires Courts to consider different factors at a revocation hearing
 6
     than at the original sentencing proceeding. Specifically, when determining the
 7
     appropriate sentence for violation of supervised release, Courts may not consider “the
 8
     seriousness of the offense,” “the need to promote respect for the law,” punishment, the
 9
     kinds of sentences available, or the need to pay restitution. See United States v. Miqbel,
10
     444 F.3d 1173, 1181 (9th Cir. 2006). It also is reversible error to “impose or lengthen a
11
     prison term in order to promote an offender’s rehabilitation.” United States v. Grant,
12
     664 F.3d 276 (9th Cir. 2011). Rather, the Court should choose a sentence that furthers
13
     the overriding purpose of supervised release, “to assist individuals in their transition to
14
     community life.” Johnson, 529 U.S. at 59.
15
            Here, the rehabilitative goals of supervised release are best met by a time-served
16
     sentence with an RRC placement. Mr. Willoughby has already spent nearly 60 days in
17
     custody. Assuming an RRC condition is imposed, he would remain in custody until a
18
     bed date can be arranged through the Probation Department. He has gotten the message
19
     that he needs to be more cooperative with the Probation Department and comply with
20
     conditions of release. This is not a case where Mr. Willoughby was committing new
21
     crimes while on supervised release. The term he has already served, combined with a
22
     lengthy RRC placement, will impress upon him the importance of compliance with
23
     conditions.
24
            A.       The characteristics of the defendant (18 U.S.C. § 3553(a)(1)).
25
            In its sentencing recommendation from last year, the Probation Department aptly
26
     stated, “Mr. Willoughby’s personal history is complex, riddled with both significant
                                                                  FEDERAL PUBLIC DEFENDER
       DEFENDANT’S DISPOSITION                                       1601 Fifth Avenue, Suite 700
       MEMORANDUM                                                      Seattle, Washington 98101
       (U.S. v. Willoughby, CR20-111-JCC) - 5                                     (206) 553-1100
               Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 6 of 9




 1   trauma and strong support, poor decision-making and compelling ambition.” Probation
 2   Recommendation at 3. Mr. Willoughby’s childhood background was particularly
 3   chaotic and difficult. He was born to addicted parents and his first interaction with
 4   Child Protective Services occurred when he was approximately two years old. His next
 5   several years were spent in various households; at times with his grandmother, at times
 6   with his mother, and at times in one of many different foster homes. During his early
 7   childhood, he was placed in 26 different foster homes. There were many custody battles
 8   over Mr. Willoughby and his brother, and it appears that he was often neglected, left
 9   alone, and uncared for. Guardian ad litem reports indicate that Mr. Willoughby
10   struggled with poor attachment, instability, developmental delay, and behavioral
11   challenges. Eventually, he was adopted into a loving home with his siblings.
12          Despite his difficult childhood, Mr. Willoughby is an optimistic and ambitious
13   person. He does not want others, especially the criminal legal system, to label him as a
14   troubled Black man from a dysfunctional family and a broken foster care system. He
15   frankly does not believe he needs mental health treatment, and he resists the suggestion
16   that he has an alcohol problem. To him, it is a personal criticism to suggest that he
17   needs treatment. He sees himself as a personable, smart, and ambitious man. While it’s
18   possible that he lacks personal insight, it is only because he believes he is doing fine,
19   and he wants to focus on his own personal goals—getting a well-paying job and
20   working on social justice issues.
21          The Probation Department’s Recommendation recounts, in detail, all of
22   Mr. Willoughby’s prior criminal history. While Mr. Willoughby is not proud of his
23   criminal history, this Court should keep in mind that, apart from the underlying Arson
24   conviction, his criminal history consists of only misdemeanor convictions, the last of
25   which took place in 2018. Between 2018 and the commission of the Arson in the
26

                                                                  FEDERAL PUBLIC DEFENDER
       DEFENDANT’S DISPOSITION                                       1601 Fifth Avenue, Suite 700
       MEMORANDUM                                                      Seattle, Washington 98101
       (U.S. v. Willoughby, CR20-111-JCC) - 6                                     (206) 553-1100
                 Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 7 of 9




 1   summer of 2020, he established a solid employment history, continued his education at
 2   several local colleges, and in 2019 ran for Seattle City Council.
 3          B.       To deter criminal conduct, protect the public from further crimes,
                     and provide the defendant with needed treatment (18 U.S.C.
 4
                     § 3553(a)(2)(B)–(D)).
 5          The Probation Department argues that Mr. Willoughby “is in need of mental
 6   health and substance use disorder services.” Recommendation at 4. It may be true that
 7   Mr. Willoughby would benefit from SUD treatment, although he likely disagrees with
 8   that assessment. Nonetheless, treatment is best provided in communities, not in prisons.
 9   Johnson, 529 U.S. at 60 (“Supervised release, unlike incarceration, provides individuals
10   with post-confinement assistance.”).
11          A term of custody is not going to convince Mr. Willoughby that he actually does
12   have substance abuse or mental health issues. A term of custody or some other punitive
13   sanction is unnecessary to deter Mr. Willoughby from future violations. Additional
14   imprisonment does not produce additional deterrence:
15
            [R]esearch does not show that the aversive experience of receiving
16          correctional sanctions greatly inhibits subsequent criminal behavior.
            Moreover, a significant portion of the evidence points in the opposite
17          direction—such sanctions may increase the likelihood of recidivism. The
18          theory of specific deterrence inherent in the politically popular and
            intuitively appealing view that harsher treatment of offenders dissuades
19          them from further criminal behavior is thus not consistent with the
            preponderance of available evidence.
20
     Mark W. Lipsey and Francis T. Cullen, The Effectiveness of Correctional
21
     Rehabilitation: A Review of Systematic Reviews 3 Ann. Rev. L. Soc. Sci. 297, 302
22
     (2007). See also Roger Warren, National Center for State Courts, Evidence Based
23
     Practice to Reduce Recidivism: Implications for State Judiciaries (2007) (“The research
24
     evidence is unequivocal that incarceration does not reduce offender recidivism....
25
     Incarceration actually results in slightly increased rates of offender recidivism.”).
26

                                                                  FEDERAL PUBLIC DEFENDER
       DEFENDANT’S DISPOSITION                                       1601 Fifth Avenue, Suite 700
       MEMORANDUM                                                      Seattle, Washington 98101
       (U.S. v. Willoughby, CR20-111-JCC) - 7                                     (206) 553-1100
               Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 8 of 9




 1           The defense appreciates that Mr. Willoughby’s criminal history appears to
 2   involve alcohol-related offenses. However, any such needs will not be addressed in a
 3   prison. Instead, release to the RRC would provide a structured and monitored transition
 4   plan.
 5           C.      This Court should not defer to the statement by the Sentencing
                     Commission (18 U.S.C. § 3553 (a)(5)).
 6
             The Probation Department’s recommendation is anchored by advisory range set
 7
     forth in the Sentencing Guideline policy statement. The Sentencing Commission’s
 8
     policy statements deserve no deference by this Court. The Sentencing Commission has
 9
     never promulgated guidelines for supervised release violations. See USSG, Chapter 7,
10
     Part A. Instead, the Commission simply created policy statements that, even before
11
     Booker v. Washington, 543 U.S. 220 (2005), were not binding on Courts. These policy
12
     statements contain no system of adjustment or departures to account for differing
13
     violations. They do not account for an offender’s acceptance of responsibility, or lack
14
     thereof. They are not based on an empirical study of sentences actually imposed by
15
     district court judges. The guideline chart for revocation sentences has never been
16
     amended since its first publication in 1990. The policy statement fails to consider the
17
     disruptive impact a custodial sentence will have on people’s lives.
18
             Ultimately, when sentencing a defendant for a supervised release violation, this
19
     Court must consider the 18 U.S.C. § 3553(a) factors and impose a sentence that is
20
     “sufficient, but not greater than necessary” to comply with the purposes of sentencing.
21
     See United States v. Hammons, 558 F.3d 1100, 1103 (9th Cir. 2009). The policy
22
     statement range is excessive in this case. An additional three months in custody will do
23
     nothing to address the needs of Mr. Willoughby or protect the community. Sitting in jail
24
     for an additional three months will not convince Mr. Willoughby he needs treatment.
25
26

                                                                FEDERAL PUBLIC DEFENDER
       DEFENDANT’S DISPOSITION                                     1601 Fifth Avenue, Suite 700
       MEMORANDUM                                                    Seattle, Washington 98101
       (U.S. v. Willoughby, CR20-111-JCC) - 8                                   (206) 553-1100
               Case 2:20-cr-00111-JCC Document 97 Filed 11/23/22 Page 9 of 9




     III.   CONCLUSION
 1
            Mr. Willoughby respectfully asks the Court to impose a time-served sentence to
 2
     be followed by a six-month RRC placement. The violations before the Court do not
 3
     present such a threat to the community that additional incarceration is warranted. A
 4
     sentence of time-served and release to the RRC best accomplishes the goal of
 5
     “assist[ing Mr. Willoughby] in [his] transition to community life.” Johnson, 529 U.S. at
 6
     60.
 7
            DATED this 23rd day of November 2022.
 8
                                                Respectfully submitted,
 9
                                                s/ Dennis Carroll
10
                                                Assistant Federal Public Defender
11                                              Attorney for Isaiah Willoughby

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                                                FEDERAL PUBLIC DEFENDER
       DEFENDANT’S DISPOSITION                                     1601 Fifth Avenue, Suite 700
       MEMORANDUM                                                    Seattle, Washington 98101
       (U.S. v. Willoughby, CR20-111-JCC) - 9                                   (206) 553-1100
